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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

        Plaintiff,                                   Case No. 01-80571

                                                     Hon. John Corbett O’Meara
v.

RAYMOND CANTY,


      Defendant.
________________________________/

                              ORDER GRANTING IN PART
                           DEFENDANT’S MOTION FOR BOND

        Before the court is Defendant Raymond Canty’s Motion for Placement of Bond and

Home Confinement, filed March 28, 2006. The government submitted a response on April 17,

2006. The court heard oral argument on May 4, 2006, and took the matter under advisement.

        Defendant was indicted on drug, money laundering, and murder charges on July 2, 2001.

He was arraigned on August 21, 2001, and has been in detention since that date. The

government filed a notice of its intent to seek the death penalty against Canty on February 6,

2003.

        Defendant has multiple sclerosis and contends that his condition has significantly

worsened during the time he has spent in prison awaiting trial. Defendant walks with difficulty

using a walker and suffers from severe glaucoma that renders him legally blind. In light of his

medical condition, Defendant requests that the court release him on bond and place him in home

confinement. The government opposes this request.

        The court and the parties are not fully informed regarding Defendant’s medical condition,
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which is relevant to the issue of bond as well as to the mitigating factors to be considered if

Defendant’s trial reaches a death penalty phase. Accordingly, with the agreement of the parties,

the court will order Defendant to obtain a medical examination at a civilian hospital, assuming

that the U.S. Marshal Service is able to provide adequate security. The doctor conducting the

examination will consider Defendant’s current medical condition and prognosis, whether the

recommended treatment may be obtained in prison, and whether Defendant’s incarceration is

contributing to the worsening of his condition. Upon receiving the doctor’s report, Defendant

may renew his motion for bond and home confinement.

       SO ORDERED.



                               s/John Corbett O’Meara
                               John Corbett O’Meara
                               United States District Judge


Dated: May 8, 2006




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